-6&$1' 5HY                 Case 4:21-cv-05073-DMR Document 1 Filed 06/30/21 Page 1 of 3
                                                                                  &,9,/&29(56+((7
7KH-6&$1'FLYLOFRYHUVKHHW DQGWKHLQIRUPDWLRQFRQWDLQHGKHUHLQQHLWKHUUHSODFHQRUVXSSOHPHQWWKHILOLQJDQGVHUYLFHRI SOHDGLQJVRU RWKHU SDSHUVDVUHTXLUHGE\ ODZ
H[FHSWDVSURYLGHGE\ ORFDOUXOHV RIFRXUW 7KLVIRUPDSSURYHG LQLWVRULJLQDOIRUP E\WKH-XGLFLDO&RQIHUHQFHRIWKH8QLWHG6WDWHVLQ6HSWHPEHU  LVUHTXLUHGIRU WKH&OHUNRI
&RXUWWRLQLWLDWHWKHFLYLOGRFNHWVKHHW(SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)
, D 3/$,17,))6                                                                                                 '()(1'$176
 John Chigbu                                                                                                 Trans Union, LLC, et al.
      E     &RXQW\RI 5HVLGHQFHRI)LUVW/LVWHG 3ODLQWLII          Alameda                                      &RXQW\ RI5HVLGHQFHRI)LUVW/LVWHG'HIHQGDQW
            (EXCEPT IN U.S. PLAINTIFF CASES)                                                                    (IN U.S. PLAINTIFF CASES ONLY)
                                                                                                                127(,1/$1' &21'(01$7,21&$6(686(7+(/2&$7,212)
                                                                                                                           7+(75$&7 2)/$1',192/9('
      F      $WWRUQH\V(Firm Name, Address, and Telephone Number)                                               $WWRUQH\V(If Known)
 Todd M. Friedman, Esq., Law Offices of Todd M. Friedman, P.C., 21550                                        David Streza, Esq., Vogl Meredith Burke LLP, 456 Montgomery Street, 20th
 Oxnard Street, Suite 780, Woodland Hills, CA 91367, (323) 306-4234                                          Floor, San Francisco, CA 94104, (415) 398-0200
,,         %$6,62)-85,6',&7,21(Place an “X” in One Box Only)                                  ,,, &,7,=(16+,32)35,1&,3$/ 3$57,(6 (Place an “X” in One Box for Plaintiff
                                                                                                       (For Diversity Cases Only)                                       and One Box for Defendant)
                                                                                                                                            37)       '()                                       37)      '()
          86 *RYHUQPHQW3ODLQWLII           )HGHUDO 4XHVWLRQ                                  &LWL]HQRI7KLV6WDWH                               ,QFRUSRUDWHG or3ULQFLSDO3ODFH             
                                                   (U.S. Government Not a Party)
                                                                                                                                                              RI%XVLQHVV,Q7KLV6WDWH
                                                                                                      &LWL]HQ RI$QRWKHU6WDWH                            ,QFRUSRUDWHG and3ULQFLSDO3ODFH           
          86 *RYHUQPHQW'HIHQGDQW             'LYHUVLW\                                                                                                 RI%XVLQHVV ,Q$QRWKHU6WDWH
                                                  (Indicate Citizenship of Parties in Item III)
                                                                                                      &LWL]HQ RU6XEMHFWRID                            )RUHLJQ1DWLRQ                             
                                                                                                      )RUHLJQ&RXQWU\

,9           1$785( 2)68,7                (Place an “X” in One Box Only)
          &2175$&7                                                      72576                                   )25)(,785(3(1$/7<                        %$1.5837&<                     27+(567$787(6
   ,QVXUDQFH                           3(5621$/,1-85<                    3(5621$/,1-85<                 'UXJ 5HODWHG 6HL]XUHRI          $SSHDO 86&          )DOVH&ODLPV $FW
   0DULQH                                                                                                       3URSHUW\ 86&            :LWKGUDZDO86&           4XL7DP 86&
                                         $LUSODQH                        3HUVRQDO,QMXU\ ±3URGXFW
   0LOOHU$FW                                                                /LDELOLW\                     2WKHU                                                             D
                                          $LUSODQH3URGXFW/LDELOLW\
    1HJRWLDEOH,QVWUXPHQW                                                +HDOWK &DUH                             /$%25                       3523(57<5,*+76               6WDWH5HDSSRUWLRQPHQW
                                         $VVDXOW /LEHO 6ODQGHU
   5HFRYHU\ RI                                                              3KDUPDFHXWLFDO3HUVRQDO                                                                             $QWLWUXVW
                                         )HGHUDO(PSOR\HUV¶                                                 )DLU/DERU6WDQGDUGV $FW         &RS\ULJKWV
       2YHUSD\PHQW2I                                                           ,QMXU\3URGXFW/LDELOLW\                                                                             %DQNV DQG %DQNLQJ
                                             /LDELOLW\                                                         /DERU0DQDJHPHQW                3DWHQW
       9HWHUDQ¶V%HQHILWV                                                   $VEHVWRV 3HUVRQDO,QMXU\                                                                             &RPPHUFH
                                         0DULQH                                                                 5HODWLRQV                        3DWHQWņ$EEUHYLDWHG1HZ
   0HGLFDUH$FW                                                             3URGXFW/LDELOLW\
                                          0DULQH3URGXFW /LDELOLW\                                          5DLOZD\ /DERU$FW                     'UXJ $SSOLFDWLRQ            'HSRUWDWLRQ
   5HFRYHU\ RI'HIDXOWHG                                                3(5621$/3523(57<                                                                                       5DFNHWHHU,QIOXHQFHG
                                         0RWRU9HKLFOH                                                      )DPLO\ DQG0HGLFDO               7UDGHPDUN
       6WXGHQW /RDQV ([FOXGHV                                                2WKHU)UDXG                                                                                              &RUUXSW 2UJDQL]DWLRQV
                                         0RWRU9HKLFOH3URGXFW                                                 /HDYH$FW                       'HIHQG7UDGH6HFUHWV
       9HWHUDQV                                                              7UXWKLQ /HQGLQJ
                                             /LDELOLW\                                                         2WKHU/DERU/LWLJDWLRQ              $FWRI                 &RQVXPHU&UHGLW
   5HFRYHU\ RI                                                          2WKHU3HUVRQDO3URSHUW\
                                         2WKHU3HUVRQDO,QMXU\                                              (PSOR\HH5HWLUHPHQW                                              7HOHSKRQH&RQVXPHU
       2YHUSD\PHQW                                                                                                                                    62&,$/6(&85,7<
                                                                                 'DPDJH                             ,QFRPH6HFXULW\$FW                                                  3URWHFWLRQ $FW
    RI9HWHUDQ¶V%HQHILWV                3HUVRQDO ,QMXU\0HGLFDO                                                                               +,$ II
                                             0DOSUDFWLFH                    3URSHUW\ 'DPDJH3URGXFW                                                                             &DEOH6DW79
   6WRFNKROGHUV¶ 6XLWV                                                       /LDELOLW\                           ,00,*5$7,21                    %ODFN/XQJ               6HFXULWLHV&RPPRGLWLHV
   2WKHU&RQWUDFW                                                                                            1DWXUDOL]DWLRQ                   ',:&',::  J                  ([FKDQJH
                                              &,9,/5,*+76                  35,621(53(7,7,216
   &RQWUDFW3URGXFW /LDELOLW\                                                                                   $SSOLFDWLRQ                     66,'7LWOH;9,
                                          2WKHU&LYLO5LJKWV                                                                                                                      2WKHU6WDWXWRU\ $FWLRQV
                                                                                +$%($6&25386                   2WKHU,PPLJUDWLRQ
   )UDQFKLVH                                                                                                                                     56,  J                    $JULFXOWXUDO $FWV
                                          9RWLQJ                         $OLHQ'HWDLQHH                     $FWLRQV
           5($/3523(57<                 (PSOR\PHQW                                                                                             )('(5$/7$;68,76               (QYLURQPHQWDO0DWWHUV
                                                                              0RWLRQVWR 9DFDWH
   /DQG &RQGHPQDWLRQ                  +RXVLQJ                            6HQWHQFH                                                             7D[HV 863ODLQWLII RU     )UHHGRP RI,QIRUPDWLRQ
                                             $FFRPPRGDWLRQV                                                                                              'HIHQGDQW                       $FW
   )RUHFORVXUH                                                           *HQHUDO
                                         $PHUZ'LVDELOLWLHV±                                                                                   ,56±7KLUG3DUW\  86&      $UELWUDWLRQ
   5HQW/HDVH (MHFWPHQW                                               'HDWK3HQDOW\
                                             (PSOR\PHQW                                                                                                                        $GPLQLVWUDWLYH3URFHGXUH
    7RUWV WR/DQG                                                                 27+(5
                                         $PHUZ'LVDELOLWLHV±2WKHU                                                                                                                  $FW5HYLHZ RU$SSHDORI
   7RUW3URGXFW/LDELOLW\                                                0DQGDPXV 2WKHU                                                                                          $JHQF\'HFLVLRQ
   $OO2WKHU5HDO 3URSHUW\           (GXFDWLRQ
                                                                             &LYLO5LJKWV                                                                                          &RQVWLWXWLRQDOLW\ RI6WDWH
                                                                              3ULVRQ&RQGLWLRQ                                                                                        6WDWXWHV
                                                                             &LYLO'HWDLQHH±
                                                                                 &RQGLWLRQVRI
                                                                                 &RQILQHPHQW

9            25,*,1(Place an “X” in One Box Only)
          2ULJLQDO                    5HPRYHGIURP                    5HPDQGHGIURP             5HLQVWDWHGRU             7UDQVIHUUHGIURP                 0XOWLGLVWULFW          0XOWLGLVWULFW
           3URFHHGLQJ                   6WDWH&RXUW                     $SSHOODWH&RXUW             5HRSHQHG                  $QRWKHU'LVWULFW (specify)        /LWLJDWLRQ±7UDQVIHU     /LWLJDWLRQ±'LUHFW)LOH


9,           &$86(2)          &LWHWKH86&LYLO6WDWXWHXQGHUZKLFK\RXDUHILOLQJ(Do not cite jurisdictional statutes unless diversity)
                                 15 U.S.C. § 1681 et seq.
              $&7,21
                                 %ULHIGHVFULSWLRQRIFDXVH
                                  Fair Credit Reporting Act
9,,          5(48(67(',1                   &+(&.,)7+,6 ,6$&/$66$&7,21                          '(0$1' 25,000.00                              &+(&.<(6RQO\LIGHPDQGHGLQFRPSODLQW
              &203/$,17                     81'(5 58/()HG5&LY3                                                                           -85<'(0$1'             <HV      1R

9,,, 5(/$7(' &$6( 6                                       -8'*(                                                      '2&.(7180%(5
      ,)$1< (See instructions):
,;          ',9,6,21$/$66,*10(17 &LYLO/RFDO5XOH
                            
 3ODFHDQ³;´LQ2QH%R[2QO\     6$1)5$1&,6&22$./$1'                                                                            6$1-26(                        (85(.$0&.,1/(<9,//(


'$7( 06/30/2021                                             6,*1$785(2)$77251(<2)5(&25'
-6&$1' UHY     Case 4:21-cv-05073-DMR Document 1 Filed 06/30/21 Page 2 of 3

               ,16758&7,216)25$77251(<6 &203/(7,1*&,9,/&29(56+((7)250-6&$1'

$XWKRULW\ )RU&LYLO&RYHU6KHHW 7KH-6&$1'FLYLOFRYHUVKHHW DQG WKHLQIRUPDWLRQFRQWDLQHG KHUHLQ QHLWKHU UHSODFHVQRU VXSSOHPHQWVWKH ILOLQJVDQG
VHUYLFH RISOHDGLQJRURWKHUSDSHUV DV UHTXLUHG E\ODZ H[FHSWDV SURYLGHGE\ ORFDOUXOHVRI FRXUW7KLVIRUPDSSURYHGLQ LWV RULJLQDOIRUPE\WKH-XGLFLDO
&RQIHUHQFH RI WKH8QLWHG6WDWHV LQ6HSWHPEHU LV UHTXLUHGIRU WKH &OHUNRI &RXUWWR LQLWLDWH WKHFLYLOGRFNHW VKHHW &RQVHTXHQWO\D FLYLO FRYHUVKHHW LV
VXEPLWWHGWR WKH &OHUNRI &RXUW IRUHDFKFLYLO FRPSODLQWILOHG 7KHDWWRUQH\ILOLQJDFDVHVKRXOG FRPSOHWHWKHIRUPDVIROORZV
   , D   3ODLQWLIIV'HIHQGDQWV (QWHUQDPHV ODVWILUVWPLGGOH LQLWLDO RISODLQWLII DQGGHIHQGDQW,I WKHSODLQWLIIRU GHIHQGDQWLVDJRYHUQPHQWDJHQF\XVH
          RQO\ WKHIXOOQDPHRUVWDQGDUGDEEUHYLDWLRQV,IWKHSODLQWLIIRUGHIHQGDQWLVDQRIILFLDOZLWKLQDJRYHUQPHQWDJHQF\ LGHQWLI\ ILUVWWKHDJHQF\DQG
          WKHQWKHRIILFLDOJLYLQJERWK QDPHDQGWLWOH
     E    &RXQW\RI5HVLGHQFH)RUHDFKFLYLOFDVHILOHGH[FHSW 86 SODLQWLIIFDVHV HQWHUWKHQDPHRI WKHFRXQW\ ZKHUHWKHILUVWOLVWHGSODLQWLIIUHVLGHV DWWKH
          WLPHRIILOLQJ,Q 86SODLQWLII FDVHVHQWHUWKHQDPHRIWKH FRXQW\LQZKLFKWKH ILUVWOLVWHGGHIHQGDQWUHVLGHVDWWKH WLPH RIILOLQJ 127(,Q ODQG
          FRQGHPQDWLRQ FDVHVWKHFRXQW\RIUHVLGHQFHRIWKH³GHIHQGDQW´LVWKHORFDWLRQ RIWKHWUDFWRI ODQGLQYROYHG
     F    $WWRUQH\V(QWHUWKHILUPQDPHDGGUHVVWHOHSKRQHQXPEHUDQGDWWRUQH\RI UHFRUG ,IWKHUH DUHVHYHUDODWWRUQH\V OLVW WKHPRQ DQDWWDFKPHQWQRWLQJ
          LQWKLV VHFWLRQ³ VHHDWWDFKPHQW ´
   ,,    -XULVGLFWLRQ7KHEDVLVRI MXULVGLFWLRQLVVHWIRUWKXQGHU )HGHUDO5XOHRI&LYLO3URFHGXUH D ZKLFKUHTXLUHVWKDWMXULVGLFWLRQVEHVKRZQLQ
          SOHDGLQJV3ODFHDQ³;´LQRQHRI WKHER[HV,IWKHUHLVPRUHWKDQRQHEDVLVRIMXULVGLFWLRQSUHFHGHQFHLVJLYHQLQ WKHRUGHUVKRZQEHORZ
              8QLWHG6WDWHVSODLQWLII-XULVGLFWLRQEDVHGRQ 86&DQG6XLWVE\ DJHQFLHVDQGRIILFHUVRIWKH8QLWHG6WDWHVDUHLQFOXGHGKHUH
              8QLWHG6WDWHVGHIHQGDQW:KHQ WKHSODLQWLIILVVXLQJWKH8QLWHG6WDWHVLWVRIILFHUVRUDJHQFLHVSODFHDQ ³;´LQWKLV ER[
              )HGHUDOTXHVWLRQ7KLVUHIHUVWR VXLWVXQGHU 86&ZKHUHMXULVGLFWLRQ DULVHVXQGHU WKH&RQVWLWXWLRQ RIWKH8QLWHG 6WDWHVDQDPHQGPHQW
               WRWKH&RQVWLWXWLRQDQ DFW RI&RQJUHVV RUDWUHDW\RIWKH8QLWHG 6WDWHV,QFDVHV ZKHUHWKH86LV DSDUW\WKH86SODLQWLIIRUGHIHQGDQWFRGH
               WDNHVSUHFHGHQFHDQGER[ RUVKRXOGEHPDUNHG
              'LYHUVLW\ RIFLWL]HQVKLS7KLVUHIHUVWRVXLWVXQGHU86& ZKHUHSDUWLHVDUHFLWL]HQV RIGLIIHUHQWVWDWHV:KHQ%R[LVFKHFNHGWKH
               FLWL]HQVKLSRIWKHGLIIHUHQWSDUWLHV PXVWEHFKHFNHG 6HH6HFWLRQ ,,,EHORZ127(IHGHUDOTXHVWLRQ DFWLRQV WDNH SUHFHGHQFHRYHUGLYHUVLW\
               FDVHV
   ,,,   5HVLGHQFH FLWL]HQVKLS RI3ULQFLSDO3DUWLHV 7KLVVHFWLRQRIWKH-6&$1'LV WREHFRPSOHWHGLIGLYHUVLW\ RIFLWL]HQVKLSZDVLQGLFDWHGDERYH
          0DUNWKLV VHFWLRQIRUHDFKSULQFLSDOSDUW\
   ,9    1DWXUHRI 6XLW3ODFHDQ ³;´LQWKHDSSURSULDWHER[,I WKHQDWXUHRIVXLWFDQQRWEHGHWHUPLQHGEHVXUHWKHFDXVHRI DFWLRQLQ6HFWLRQ9,EHORZLV
          VXIILFLHQWWRHQDEOHWKHGHSXW\ FOHUNRUWKHVWDWLVWLFDOFOHUN V LQ WKH$GPLQLVWUDWLYH2IILFHWR GHWHUPLQHWKH QDWXUH RIVXLW ,IWKH FDXVHILWVPRUH WKDQ
          RQHQDWXUH RIVXLWVHOHFWWKH PRVWGHILQLWLYH
   9     2ULJLQ3ODFHDQ ³;´LQRQHRIWKH VL[ER[HV
              2ULJLQDO3URFHHGLQJV&DVHVRULJLQDWLQJ LQWKH8QLWHG6WDWHVGLVWULFWFRXUWV
              5HPRYHGIURP 6WDWH &RXUW3URFHHGLQJVLQLWLDWHGLQVWDWHFRXUWVPD\EHUHPRYHGWRWKHGLVWULFWFRXUWVXQGHU7LWOH86&:KHQWKH
               SHWLWLRQIRU UHPRYDOLVJUDQWHGFKHFNWKLVER[
              5HPDQGHGIURP$SSHOODWH&RXUW&KHFNWKLV ER[IRUFDVHVUHPDQGHGWRWKHGLVWULFW FRXUWIRU IXUWKHUDFWLRQ8VHWKHGDWH RIUHPDQGDVWKHILOLQJ
               GDWH
              5HLQVWDWHGRU 5HRSHQHG&KHFNWKLVER[IRU FDVHVUHLQVWDWHG RUUHRSHQHGLQWKHGLVWULFWFRXUW8VHWKHUHRSHQLQJGDWH DVWKHILOLQJ GDWH
              7UDQVIHUUHG IURP$QRWKHU'LVWULFW)RUFDVHV WUDQVIHUUHGXQGHU7LWOH86&  D  'RQRWXVHWKLVIRUZLWKLQGLVWULFW WUDQVIHUVRU
               PXOWLGLVWULFWOLWLJDWLRQ WUDQVIHUV
              0XOWLGLVWULFW /LWLJDWLRQ 7UDQVIHU &KHFNWKLVER[ ZKHQD PXOWLGLVWULFWFDVHLVWUDQVIHUUHGLQWRWKHGLVWULFWXQGHU DXWKRULW\ RI 7LWOH86&
                :KHQWKLVER[LVFKHFNHGGR QRWFKHFN  DERYH
              0XOWLGLVWULFW /LWLJDWLRQ 'LUHFW)LOH&KHFNWKLV ER[ZKHQDPXOWLGLVWULFW OLWLJDWLRQFDVHLVILOHGLQWKHVDPHGLVWULFWDVWKH0DVWHU0'/GRFNHW
          3OHDVHQRWHWKDWWKHUHLVQR2ULJLQ&RGH2ULJLQ&RGHZDVXVHG IRUKLVWRULFDOUHFRUGVDQGLVQRORQJHUUHOHYDQWGXHWR FKDQJHVLQVWDWXWH
   9,    &DXVHRI$FWLRQ5HSRUWWKHFLYLO VWDWXWH GLUHFWO\UHODWHGWR WKHFDXVHRIDFWLRQDQGJLYHDEULHIGHVFULSWLRQ RI WKHFDXVH'RQRWFLWHMXULVGLFWLRQDO
          VWDWXWHV XQOHVVGLYHUVLW\([DPSOH86&LYLO6WDWXWH86& %ULHI'HVFULSWLRQ8QDXWKRUL]HGUHFHSWLRQRIFDEOHVHUYLFH
   9,, 5HTXHVWHGLQ &RPSODLQW&ODVV$FWLRQ3ODFHDQ³;´LQWKLVER[LI\RXDUHILOLQJ DFODVVDFWLRQXQGHU)HGHUDO5XOHRI&LYLO3URFHGXUH
          'HPDQG,QWKLVVSDFHHQWHUWKHDFWXDOGROODU DPRXQWEHLQJGHPDQGHGRULQGLFDWHRWKHUGHPDQGVXFKDVDSUHOLPLQDU\LQMXQFWLRQ
          -XU\'HPDQG&KHFNWKHDSSURSULDWHER[WRLQGLFDWHZKHWKHURU QRWDMXU\ LVEHLQJGHPDQGHG
   9,,, 5HODWHG&DVHV 7KLVVHFWLRQRIWKH-6&$1'LVXVHGWRLGHQWLI\ UHODWHGSHQGLQJFDVHV LIDQ\ ,IWKHUH DUHUHODWHGSHQGLQJFDVHV LQVHUWWKHGRFNHW
         QXPEHUVDQGWKHFRUUHVSRQGLQJMXGJHQDPHVIRUVXFKFDVHV
   ,;    'LYLVLRQDO$VVLJQPHQW,IWKH1DWXUHRI6XLWLVXQGHU 3URSHUW\ 5LJKWV RU3ULVRQHU3HWLWLRQVRUWKH PDWWHULVD 6HFXULWLHV&ODVV$FWLRQOHDYH WKLV
          VHFWLRQ EODQN)RUDOORWKHUFDVHVLGHQWLI\WKHGLYLVLRQDO YHQXHDFFRUGLQJWR&LYLO/RFDO5XOH³WKHFRXQW\ LQZKLFKDVXEVWDQWLDOSDUWRI WKH
          HYHQWVRU RPLVVLRQVZKLFKJLYHULVHWR WKH FODLP RFFXUUHG RULQZKLFKDVXEVWDQWLDOSDUWRI WKH SURSHUW\WKDWLVWKHVXEMHFWRI WKH DFWLRQLVVLWXDWHG´
   'DWHDQG$WWRUQH\6LJQDWXUH 'DWHDQGVLJQWKHFLYLOFRYHUVKHHW
               Case 4:21-cv-05073-DMR Document 1 Filed 06/30/21 Page 3 of 3




 1                        John Chigbu vs. Credence Resource Management, LLC, et al.
                                U.S.D.C. Northern District of California Case No.
 2

 3                                       CERTIFICATE OF SERVICE

 4          I, Katherine Eng, declare as follows:
 5          I am a citizen of the United States, I am over the age of eighteen (18) years and am not a party to
 6   this action. I am employed in the City and County of San Francisco, State of California, and my
 7   business address is 456 Montgomery Street, 20th Floor, San Francisco, California, 94104.
 8          On June 30, 2021, I served or caused the within: Civil Case Cover Sheet on the attorney(s) of
 9   record in this action as follows:
10      X           by placing a true copy thereof enclosed in a sealed envelope with postage thereon fully
                    prepaid, and deposited the same for collection and mailing at San Francisco, California,
11                  following ordinary business practices, addressed as set forth below.
12   Plaintiff’s Attorney:
     Todd M. Friedman, Esq.
13   Adrian R. Bacon, Esq.
     Law Offices of Todd M. Friedman, P.C.
14
     21550 Oxnard Street, Suite 780
15   Woodland Hills, California 91367
     Telephone No: (323) 306-4234
16   Facsimile No: (866) 633-0228
     Email:          tfriedman@toddflaw.com
17                   abacon@toddflaw.com
18

19          I am readily familiar with this law firm’s practice for the collection and processing of documents
20   for mailing, Federal Express overnight mail, and facsimile transaction and said document(s) are
21   deposited with the United States Postal Service or Federal Express depository on the same day in the
22   ordinary course of business.
23          I declare under penalty of perjury under the laws of the State of California that the foregoing is
24   true and correct and that this declaration was executed on June 30, 2021, in San Francisco, California.
25
                                                         ________________________________
                                                             ____________
26                                                       Katherine  Eng
                                                             eriine Eng
27

28
                                                      1
                                            CERTIFICATE OF SERVICE
